 1   XAVIER BECERRA
     Attorney General of California
 2   MICHAEL L. NEWMAN
     Senior Assistant Attorney General
 3   CHEROKEE D.M. MELTON
     Supervising Deputy Attorney General
 4   JENNIFER C. BONILLA
     LISA CISNEROS
 5   REBEKAH A. FRETZ
     MARISSA MALOUFF
 6   JULIA HARUMI MASS
     ANITA GARCIA VELASCO
 7   BRENDA AYON VERDUZCO
     ANNA RICH, State Bar No. 230195
 8   Deputy Attorneys General
        1515 Clay Street, 20th Floor
 9      P.O. Box 70550
        Oakland, CA 94612-0550
10      Telephone: 510-879-0296
        Fax: 510-622-2270
11      E-mail: Anna.Rich@doj.ca.gov
      Attorneys for Plaintiff State of California, by and
12    through Attorney General Xavier Becerra

13
                               IN THE UNITED STATES DISTRICT COURT
14
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
15

16
      STATE OF CALIFORNIA, DISTRICT OF                      Case No. 3:19-cv-04975 PJH
17    COLUMBIA, STATE OF MAINE,
      COMMONWEALTH OF                                       APPENDIX
18    PENNSYLVANIA and STATE OF
      OREGON,
19
                                              Plaintiffs,
20
                     v.
21
     U.S. DEPARTMENT OF HOMELAND
22   SECURITY; KEVIN MCALEENAN, in his
23   official capacity as Acting Secretary of
     Homeland Security; U.S. CITIZENSHIP AND
24   IMMIGRATION SERVICES; and KENNETH
     T. CUCCINELLI, in his official capacity as
25   Acting Director of U.S. Citizenship and
     Immigration Services,
26
                                           Defendants.
27

28

                                 Plaintiffs’ Mot. for Preliminary Injunction, Appendix
                                                  (3:19-cv-04975 PJH)
 1                DECLARATIONS CITED IN PLAINTIFFS’ MOTION FOR
                           PRELIMINARY INJUNCTION
 2
     Tab         Declarant
 3   Number
 4   Experts

 5   1           Declaration of Jennifer Van Hook

 6   2           Declaration of Ninez Ponce
 7   3           Declaration of Laurel Lucia

 8   4           Declaration of Tom K. Wong

 9
     State Agencies
10   5           Declaration of Sarah Neville-Morgan (CA Department of Education)
11   6           Declaration of Susan Fanelli (CA Department of Public Health)
12   7           Declaration of Charity Dean (CA Department of Public Health)
13   8           Declaration of Doug McKeever (Covered California)
14   9           Declaration of Kevin Kish (CA Department of Fair Employment and Housing)
15   10          Declaration of Mari Cantwell (CA Department of Health Care Services)
16   11          Declaration of Alexis Carmen Fernández (CA Department of Social Services)
17   12          Declaration of Debbi Thomson (CA Department of Social Services)
18   13          Declaration of M. Marcela Ruiz (CA Department of Social Services)
19   14          Declaration of Sasha R. Kergan (Wisotsky) (CA Housing and Community
                 Development)
20   15          Declaration of Jennifer Hernandez (LWDA)
21
     16          Declaration of John D. Stobo, M.D. (University of California Office of the
22               President - UC Health)
     Non-state Agencies
23
     17          Declaration of Wilma Chan (Alameda County Board Supervisors, Member)
24
     18          Declaration of Colleen Chawla (Alameda County Healthcare Services Agency)
25
     19          Declaration of Carmela Coyle (CA Hospital Association)
26
     20          Declaration of David H. Aizuss (CA Medical Association)
27

28
                                                      1
                             Plaintiffs’ Mot. for Preliminary Injunction, Appendix
                                              (3:19-cv-04975 PJH)
 1   Tab          Declarant
     Number
 2   21           Declaration of Antonia Jiménez (LA County Department of Public Social
                  Services)
 3   22           Declaration of Barbara Ferrer (LA County Department of Public Health)
 4   23           Declaration of Pia Escudero (LA Unified School District)
 5   24           Declaration of Lori Medina (Monterey County Department of Social Services)
 6   25           Declaration of Gary Gray (Natividad Medical Center)
 7   26           Declaration of Jodi Hicks (Planned Parenthood Affiliate of California (PPAC)
                  and California Planned Parenthood Education Fund)
 8
     Co-Plaintiff Declarations
 9   27           Declaration of Cathy Buhrig I (PA Department of Human Services - Medicaid)
10   28           Declaration of Cathy Buhrig II (PA Department of Human Services – SNAP)
11   29           Declaration of Colt Gill (OR Department of Education)
12   30           Declaration of Fariborz Pakseresht (OR Department of Human Services)
13
     31           Declaration of Margaret Solle Salazar (OR Housing and Community Services)
14
     32           Declaration of Patrick Allen (OR Health Authority)
15
     33           Declaration of Michelle Probert (ME Department of Health and Human
16                Services – MaineCare Services)
     34           Declaration of Anthony Pelotte (ME Department of Health and Human
17                Services – Office of Family Independence)
     35           Declaration of Mila Kofman (DC Health Benefit Exchange Authority – HBX)
18
     36           Declaration of Melisa Byrd (DC Department of Health Care Finance –
19                Medicaid)
     37           Declaration of Lindsey Palmer (DC Office of the State Superintendent of
20                Education – Nutrition Programs)

21

22

23

24

25

26
27

28
                                                       2
                              Plaintiffs’ Mot. for Preliminary Injunction, Appendix
                                               (3:19-cv-04975 PJH)
